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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                    )
 PROJECT ON GOVERNMENT                              )
 OVERSIGHT, INC.,                                   )
                                                    )
                       Plaintiff,                   )
                                                    )
                                                              Civil Action No. 22-cv-03092 (ABJ)
        v.                                          )
                                                    )
 U.S. DEPARTMENT OF HOMELAND                        )
 SECURITY,                                          )
                 Defendant.                         )
                                                    )

        DEFENDANT’S STATUS REPORT CONCERNING SCHEDULE FOR
                            PRODUCTION

       Pursuant to the Court’s order, dated May 4, 2023, Defendant respectfully reports the

following:

       With regard to the Freedom of Information Act (FOIA) requests submitted by Plaintiff to

the Department of Homeland Security (DHS) Office of Inspector General (OIG), dated June 27,

2022, August 10, 2022, August 22, 2022, and August 30, 2022 respectively, Defendant is in receipt

of records responsive to these requests. On June 1, 2023, Defendant issued its fifth interim

production of non-exempt, responsive records to Plaintiff. Defendant will continue to make rolling

monthly productions and will make its next production of any responsive non-exempt records by

June 30, 2023.

       Defendant requests to provide the Court with a Status Report on or before July 12, 2023.
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Respectfully Submitted,



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/s
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